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‭Testimony:‬

‭ rom October 2023 until the present month of December 2024, the Antioch Marina/City of‬
F
‭Antioch and its staff members have Exercised Discrimination and unfair rental practices against‬
 ‭Marc Lucas. With the unlawful eviction and a violation of due process that is a criminal act‬
  ‭against the Supremacy Clause and constitution of the United States, that has been committed‬
   ‭by violating Marc Lucas unalienable rights through color of law. The opportunity to cure was‬
    ‭presented to the City of Antioch/Antioch Marina and its representatives to provide proof of claim.‬
     ‭The claim has not been made nor any evidence presented to substantiate any such claim under‬
      ‭penalty and perjury with a notary seal. I have submitted the order attached to my "Notice of‬
       ‭Default" for enforcement through the district court in my lawful process upholding my due‬
        ‭process of law. As a competent American State National Assembly Member who breathes the‬
         ‭air from the heavens and has blood flowing through the veins as a living, breathing being. I seek‬
          ‭remedy from the court to indemnify the injured party and uphold and enforce my claim with‬
           ‭prejudice.‬
